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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Benjamin George,                             )
                                             )       Case No.      20-cv-06911
                      Plaintiff,             )
                                             )       Hon. Judge Blakey
v.                                           )
                                             )       Hon. Magistrate Judge Jantz
City of Chicago,                             )
et al.,                                      )
                                             )
                      Defendants.            )       JURY TRIAL DEMANDED

             DEFENDANT JAMES GARDINER’S UNOPPOSED MOTION
          FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD

       Defendant James Gardiner (“Defendant” or “Gardiner”), by and through his attorney,

Thomas D. Carroll of Thomas R. Raines Attorney at Law, LLC, hereby moves for an extension

of time to answer or otherwise plead to Plaintiffs’ Complaint (the “Complaint”). In support of the

motion, Defendant states as follows:

       1. Plaintiff, Benjamin George (“Plaintiff”) filed this action on November 20, 2021.

       2. Defendant Gardiner was served with process on January 6, 2021. See Dkt. 24.

       3. Defendant’s attorney, the undersigned, filed an appearance on behalf of Gardiner on

           January 26, 2021.

       4. Defendant’s responsive pleading is currently due on Friday, February 19, 2021, per

           the Court’s order of January 13, 2021. See Dkt. 22.

       5. Since the filing of Defendant’s appearance, his co-defendant, Charles Sikanich

           (“Sikanich”), was served with process on February 4, 2021. See Dkt. 27.

       6. Defendant Sikanich’s responsive pleading is due on February 25, 2021.




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       7. After he was served with process, Sikanich retained Gardiner’s undersigned attorney,

           Thomas D. Carroll, as counsel for this matter.

       8. Given that defendants Gardiner and Sikanich are both privately represented by the

           same attorney and are likely to have defenses in common, Defendant Gardiner moves

           this Court for an extension of time, until February 25, 2021, to file a responsive

           pleading to the Complaint, which will be a single responsive pleading entered on

           behalf of both Gardiner and Sikanich.

       9. This motion is made in the interests of judicial efficiency, with no intention or

           likelihood of causing undue delay.

       10. Counsel for defendants Sikanich and Gardiner conferred with counsel for the

           Plaintiff, Daniel Massoglia, on February 17, 2021. Mr. Massoglia indicated that

           Plaintiff has no objection to this motion for extension of time.

       WHEREFORE, the Defendant, James Gardiner, respectfully request that the Court grant

this motion for extension of time to answer or otherwise plead to Plaintiff’s Complaint until

February 25, 2021, and for any other relief that the Court deems just.

                                                     Respectfully Submitted,
                                                     THOMAS R. RAINES
                                                     ATTORNEY AT LAW, LLC


                                                     /s/ Thomas D. Carroll
                                                     Thomas D. Carroll
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Dated: February 17, 2021



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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney of record for the Defendant, hereby certifies that on

February 17, 2021 he served a copy of the Defendant’s Unopposed Motion for Extension of

Time to Answer or Otherwise Plead on all counsel of record by electronic means via the

Northern District of Illinois’s Electronic Case Filing (ECF), system, which notifies all counsels

and parties of record.



                                                     /s/ Thomas D. Carroll
                                                     Thomas D. Carroll




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